                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND


STATE OF NEW YORK; STATE OF
CALIFORNIA; STATE OF ILLINOIS; STATE OF
RHODE ISLAND; STATE OF NEW JERSEY;
COMMONWEALTH OF MASSACHUSETTS;
STATE OF ARIZONA; STATE OF COLORADO;
STATE OF CONNECTICUT; STATE OF            C.A. No. 25-cv-39
DELAWARE; THE DISTRICT OF COLUMBIA;
STATE OF HAWAI’I; STATE OF MAINE; STATE
OF MARYLAND; STATE OF MICHIGAN; STATE
OF MINNESOTA; STATE OF NEVADA; STATE
OF NORTH CAROLINA; STATE OF NEW
MEXICO; STATE OF OREGON; STATE OF
VERMONT STATE OF WASHINGTON; STATE
OF WISCONSIN,

           Plaintiffs,

     v.

DONALD TRUMP, IN HIS OFFICIAL CAPACITY
AS PRESIDENT OF THE UNITED STATES; U.S.
OFFICE OF MANAGEMENT AND BUDGET;
MATTHEW J. VAETH, IN HIS OFFICIAL
CAPACITY AS ACTING DIRECTOR OF THE
U.S. OFFICE OF MANAGEMENT AND
BUDGET; U.S. DEPARTMENT OF THE
TREASURY; SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF THE
TREASURY; PATRICIA COLLINS IN HER
OFFICIAL CAPACITY AS TREASURER OF THE
U.S.; U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES; DOROTHY A. FINK, M.D.,
IN HER OFFICIAL CAPACITY AS ACTING
SECRETARY OF HEALTH AND HUMAN
SERVICES; U.S. DEPARTMENT OF
EDUCATION; DENISE CARTER, IN HER
OFFICIAL CAPACITY AS ACTING SECRETARY
OF EDUCATION; U.S. FEDERAL EMERGENCY
MANAGEMENT AGENCY; CAMERON
HAMILTON, IN HIS OFFICIAL CAPACITY AS
ACTING ADMINISTRATOR OF THE U.S.
FEDERAL EMERGENCY MANAGEMENT


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 AGENCY; U.S. DEPARTMENT OF
 TRANSPORTATION;
 JUDITH KALETA, IN HER OFFICIAL
 CAPACITY AS ACTING SECRETARY OF
 TRANSPORTATION;
 U.S. DEPARTMENT OF LABOR; VINCE
 MICONE, IN HIS OFFICIAL CAPACITY AS
 ACTING SECRETARY OF LABOR; U.S.
 DEPARTMENT OF ENERGY; INGRID KOLB, IN
 HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF THE U.S. DEPARTMENT OF
 ENERGY; U.S. ENVIRONMENTAL
 PROTECTION AGENCY; JAMES PAYNE, IN HIS
 OFFICIAL CAPACITY AS ACTING
 ADMINISTRATOR OF THE U.S.
 ENVIRONMENTAL PROTECTION AGENCY;
 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, IN HER CAPACITY
 AS SECRETARY OF THE U.S. DEPARTMENT
 OF HOMELAND SECURITY; U.S.
 DEPARTMENT OF JUSTICE; JAMES R.
 McHENRY III, IN HIS OFFICIAL CAPACITY AS
 ACTING ATTORNEY GENERAL OF THE U.S.
 DEPARTMENT OF JUSTICE; THE NATIONAL
 SCIENCE FOUNDATION and DR.
 SETHURAMAN PANCHANATHAN, IN HIS
 CAPACITY AS DIRECTOR OF THE NATIONAL
 SCIENCE FOUNDATION,

                Defendants.



                        AFFIRMATION OF KEITH D. HOFFMANN


       KEITH D. HOFFMANN, an attorney duly admitted to practice before the Courts of this

State, does hereby state the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

       1.      I am Keith D. Hoffmann, Chief of Policy and Assistant Attorney General in the

Office of the Attorney General for the State of Rhode Island, who appears on behalf of the State

of Rhode Island in this action.



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       2.      I submit this declaration in support of Plaintiffs States’ Motion for a Temporary

Restraining Order pursuant to Federal Rule of Civil Procedure 65. The facts set forth herein are

based upon my personal knowledge and/or a review of the files in my possession.

       3.      I have attached hereto this affirmation true and correct copies of factual

declarations, as noted herein:

       4.      Declaration dated January 28, 2025 of Kori Kappes, Chief Financial Officer of the

Department of Economic Security (“DES”) for the State of Arizona;

       5.      Declaration dated January 28, 2025 of John F. Scott II, Director of the Arizona

Department of Veterans’ Services;

       6.      Declaration dated January 28, 2025 of Jeff Tegen, Assistant Director of the

Division of Business and Finance at the Arizona Health Care Cost Containment System

Administration;

       7.      Declaration dated January 28, 2025 of Nicole Witt, Assistant Director of Public

Health Preparedness for the Arizona Department of Health Services;

       8.      Declaration dated January 28, 2025 of Susan Dzbanko, Deputy Director of the

Arizona Department of Homeland Security;

       9.      Declaration dated January 28, 2025 of Nancy Farias Womack, Director of the

California Employment Development Department;

       10.     Declaration dated January 28, 2025, of Kim Bimestefer, Executive Director for

Colorado’s Department of Health Care Policy & Financing;

       11.     Declaration dated January 28, 2025 of Stan Hilkey, Executive Director at

Colorado’s Department of Public Safety;

       12.     Declaration dated January 28, 2025 of Michelle Barnes, Executive Director of



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Colorado’s Department of Human Services;

       13.    Declaration dated January 28, 2025 of Maria De Cambra, Executive Director of the

Colorado Department of Local Affairs;

       14.    Declaration dated January 28, 2025 of Mike Ferrandino, Director of the Office of

State Planning and Budgeting for the State of Colorado;

       15.    Declaration dated January 28, 2025 of Jeffrey Beckham, Secretary of the

Connecticut Office of Policy and Management;

       16.    Declaration dated January 28, 2025 of Colleen C. Davis, State Treasurer of

Delaware;

       17.    Declaration dated January 28, 2025 of Krishnanda Tallur, Deputy State

Superintendent of the Office of Finance and Operations in the Maryland State Department of

Education;

       18.    Declaration dated January 28, 2025 of Matthew J. Gorkowicz, Secretary of

Administration and Finance for the Commonwealth of Massachusetts;

       19.    Declaration dated January 28, 2025 of Michael F. Rice, PhD, Superintendent of

Public Instruction within the Michigan Department of Education;

       20.    Declaration dated January 28, 2025 of Elizabeth Hertel, Director the Michigan

Department of Health and Human Services;

       21.    Declaration dated January 28, 2025 of Beverly Walker-Griffea, Ph.D., Director of

the Michigan Department of Lifelong Education, Advancement and Potential;

       22.    Declaration dated January 28, 2025 of Ahna Minge, Assistant Commissioner for

Budget Services and State Budget Director at Minnesota Management and Budget;

       23.    Declaration dated January 28, 2025 of Adrienne Kreipke, Chief Financial and



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Operations Officer for the Department of Environmental Protection (“NJDEP”) located in the State

of New Jersey;

       24.       Declaration dated January 28, 2025 of Ed Wengryn, Secretary of Agriculture at the

New Jersey Department of Agriculture;

       25.       Declaration dated January 28, 2025 of Sarah Adelman, Commissioner of the New

Jersey Department of Human Services;

       26.       Declaration dated January 28, 2025 of Kaitlin Baston, MD, MSc, DFASAM,

Commissioner of the New Jersey Department of Health;

       27.       Declaration dated January 28, 2025 of Kathleen Ehling, Assistant Commissioner

for the Division of Educational Services within the New Jersey Department of Education;

       28.       Declaration dated January 28, 2025 of Kari Armijo, Cabinet Secretary for the New

Mexico Health Care Authority;

       29.       Declaration dated January 28, 2025 of Wayne Propst, Cabinet Secretary for the

New Mexico Department of Finance and Administration;

       30.       Declaration dated January 28, 2025 of Blake Washington, Director of the New

York State Division of the Budget;

       31.       Declaration dated January 28, 2025 of Jonathan Womer, Director of the Rhode

Island Department of Administration;

       32.       Declaration dated January 28, 2025 of Katharine K.D. Chapman-See, Director of

the Office of Financial Management for the State of Washington;

       33.       Declaration dated January 28, 2025 of Elizabeth Maher Muoio, State Treasurer of

the State of New Jersey;

       34.       Declaration dated January 28, 2025 of Robert Asaro-Angelo, Commissioner at the



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Department of Labor and Workforce Development (NJDOL) located in the State of New Jersey.



Dated: Providence, Rhode Island
       January 29, 2025

                                                /s/ Keith D. Hoffmann
                                                    Keith D. Hoffmann
                                                Assistant Attorney General




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        I, Robert Asaro-Angelo, pursuant to 28 U.S.C. § 1746, hereby declare that the following

is true and correct:

1. I am the Commissioner at the Department of Labor and Workforce Development (NJDOL)

    located in the State of New Jersey. My educational background includes BS,

    Communications, Boston University and Master’s in Public Policy, Rutgers University. I

    have been employed as Commissioner since January 16, 2018.

2. I submit this Declaration to explain certain impacts on the State of New Jersey resulting from

    the directive given to all Federal agencies in the Office of Management and Budget’s January

    27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

    all Federal financial assistance, and other relevant agency activities that may be implicated

    by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

    statements set forth below through NJDOL Finance and Accounting personnel who have

    assisted me in gathering this information. These statements are also made on the basis of

    documents and emails that have been provided to and/or reviewed by me from multiple

    offices within the United States Department of Labor. I have also familiarized myself with

    the OMB Memo in order to understand its immediate impact on the New Jersey Department

    of Labor and Workforce Development.

3. The mission of NJDOL is to protect New Jersey's workforce, strengthen its businesses, and

    promote the dignity of work. NJDOL oversees New Jersey's three wage-protection programs

    (Unemployment, Temporary Disability, and Family Leave Insurance), which provide cash

    benefits to workers who lose their jobs through no fault of their own, or are unable to work

    because they are sick or injured, caring for a family member, or bonding with a new child.
   The NJDOL also oversees the Division of Disability Determination Services program, which

   helps individuals who are disabled and are unable to work apply for cash benefits through the

   federal Social Security Program; oversees and operates the Division of Workforce

   Development, which is responsible for New Jersey's workforce services, including vocational

   rehabilitation services, veteran's services, and more; and oversees the Division of Employer

   Accounts, which helps employers throughout New Jersey maintain compliance with

   Unemployment and Disability Insurance laws. Additionally, NJDOL enforces the New

   Jersey Public Employees Occupational Safety and Health Act as an Occupational Safety and

   Health Administration State Plan.

4. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

   anticipated federal funding to individual agencies. The expected and anticipated federal

   funding amounts are calculated based on a number of factors, including, for example,

   whether the federal funding is based on a multi-year grant that guarantees specific amounts

   of annual funding, a federal funding formula that allows the State to predict its annual

   receipts, or some other funding mechanism.

5. According to the Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the New Jersey

   Legislature appropriated a total of $603,161,000 in expected and anticipated federal funding

   to the NJDOL. These appropriations are allocated to various NJDOL programs and services,

   including but not limited to Unemployment Insurance, Disability Determinations, Vocation

   Rehabilitation Services, and Employment and Training Services.

6. On January 28, 2025, an employee of NJDOL reached out to our federal counterparts at

   USDOL to discuss the impact of the OMB Memo as well as the fact that NJDOL staff were

   no longer able to access the federal Payment Management Services (“PMS”) system. PMS is
   a shared service provider that processes grant payments for the federal government. PMS

   offers awarding agency and grant recipients with cash management services, centralized

   payment services, personal grant accounting support, and Financial Reporting Support. PMS

   promotes financial integrity and operational efficiencies within the federal government

   through accounting practices managed by the U.S. Department of Health and Human

   Services.

7. The response was: “No new news. I understand that leadership in DC is meeting, and I hope

   additional information will be provided soon after.”

8. The OMB Memo and subsequent cutting off access to PMS will have a profound and

   disabling impact on NJDOL. Our agency uses federal funding to provide critical resources

   for over 4.3 million New Jersey workers, including but not limited to workforce training as

   part of the Workforce Innovation and Opportunity Act, unemployment benefits, Jobs for

   Veterans programs, Senior Community Service Employment Programs, youth training

   programs, dislocated workers programs, Trade Adjustment Assistance programs, worker

   safety programs, economic and labor force data programs, and other programs that New

   Jersey residents rely upon. For example, there are currently over 120,000 workers collecting

   unemployment who would lose the vital financial support of the benefits they and their

   employers have already paid for, if there is no way to pay for the administration of those

   benefits.

9. The freeze on federal disbursements directed by the OMB Memo will cause significant

   disruption to NJDOL operations. NJDOL must take extraordinary measures to address and

   mitigate the loss of funding and must devote substantial time and resources to planning for

   the severe operational impacts caused by the federal funding freeze.
   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this 28th day of January 2025, in Trenton, New Jersey.




                                                    _______________________
                                                    Robert Asaro-Angelo
                                                    Commissioner
                                                    New Jersey Department of Labor and
                                                    Workforce Development
